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                                                                     APORTE
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                                         We donot close for parties during
                                                       normal business hours:

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                                                Full Tilt Arcade & Pinball
                                                               701N. Fail Rd
                                                                LaPorte, IN
                                             FULLTILTLP.COM
                                             THURSDAY 3-9
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                                                         Click the map for directions!


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                                                                 Click the map for directions!



                                                                  Buy a gift card!

                                                                                   GIFT CARDS!
                                                                                               fulltiltIp.com




                                                                                       PURCHASE ONLINE OR IN PERSON
                                                                                       DURING NORMAL BUSINESS HOURS!
                                                                                                THURSDAY 3-9
                                                                                                 FRIDAY 3-10
                                                                                               SATURDAY 12-10
                                                                                                SUNDAY 12-8




                                                                                        FULL
                                                                                        TILT
                                                                                       $266.00
                                                                              “THE ARCADE IS CLOSED TO THE PUBLIC
                                                                             DURING YOUR PARTY, THE ENTIRE ARCADE
                                                                                   IS RESERVED FOR YOUR GROUP

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                                                       BRING              YOUR OWN FOOD/DRINK
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                                                             “THE ARCADE IS       TO THE PUBLIC DURING
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                                                                     PRIVATELY FOR YOUR GROUP

                                                                 1 HOUR 45 MINUTES LONG

                                                     BRING YOUR OWN FOOD/DRINK
                                                           SEATING FOR 24
                                                           OF GAME PLAY INCLUDED
                                              THIS PACKAGE   IS LIMITED    TO PIZZA/BIRTHDAY   CAKE    -PLEASE   NO FULL CATERING




                Game                                                      The more money you put on a card to
                       e                                                  start, the more bonus credits you get!
                Prict Ng                                                  Credits never expire, and when you
                  > (elle ined:                                           win tickets from our games, those go
                                                                          directly onto your game card and they
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                                                                          $10 = 40 credits
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Document title: Arcade Games | Full Tilt Arcade &amp; Pinball | La Porte
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                                                                       $10 = 40 credits
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                                                                       $25 =106 credits

                                                                       $50 = 240 credits
                                                                       $100 = 500 credits

                                                                       Most games 1-4 credits to play

                                                               We opened in October of 2022
                                 At Full Tilt Arcade & Pinball, you'll find your favorite games from the 80's, 90's, 2000's and today! You'll find
                                  new pinball machines from Stern, Jersey Jack, and Spooky as part of our 20 machine collection, as well
                                  as classic arcade cabinets like Pac-Man     and Galaga. We also have Skee-ball, basketball, baseball, and

                                   of course, a claw machine! We even have Terminator Salvation and Big Buck Hunter Reloaded! Come
                                                                    play more than SIXTY games at Full Tilt!




                                                       Meet the Owners
                                                                          Bringing Full Tilt to Life!




                                                                Owners

                                                                Ryan Hart & Ben Konowitz

                                                                Ryan is a computer engineer, a lover of
                                                                escape rooms, tough mudders, his
                                                                wonderful wife Ashley, and of course dad
                                                                of the year for opening an arcade!

                                                                Ben owns LaPorte Seamless Gutter,
                                                                Chuck It! Junk Removal, and Big Comedy
                                                                LaPorte by day and gets beaten at pinball
                                                                by his awesome girlfriend, Bailey, by




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                                                              wonderful wife Ashley, and of course dad
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               USDC IN/ND case 3:23-cv-00699-CCB-SJF                                    document 1-5              filed 07/25/23   page 6 of 27
                                                              Ben owns LaPorte Seamless Gutter,
                                                              Chuck It! Junk Removal, and Big Comedy
                                                              LaPorte by day and gets beaten at pinball
                                                              by his awesome girlfriend, Bailey, by
                                                              night!




                                                                              We're open!
                                                                              Come Visit Us
                                                                     Monday - Private Bookings Only
                                                                     Tuesday - Private Bookings Only
                                                                   Wednesday - Private Bookings Only
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                                                             Any Questions?    Click here to shoot us an email!




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                                                                      Contact       Us
                        Name                                                Email



                        Subject


                        Type your message here..




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                         A                 Ed                              Here's what's going on at Full Tilt
                         7/10: MONDAY FLIPPER FRENZY                       in July 2023!
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                         Ar Beale a              a et
                         7/17: MONDAY FLIPPER FRENZY
                         7/V8: iF Pd PINBALL TOURNGITENT
                         7/20 - 7/23:            Ta    4a |
                         7/24: MONDAY FLIPPER FRENZY
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                        PAI           ae
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                                                                           Avenger's Weekend April 13th
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                                    THANOS          IS   COMING...




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                                                                                              Avenger's Weekend April 13th
                                                                                              through the 16th!
                                    THANOS          IS   COMING...




                                                                       Subscribe Form

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                                     Home    GiftCards      BookaParty      ContactUs       Rewards   Games      FAQ        Upcoming   Events




                                                             Buy a gift card

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                                     Home    GiftCards   BookaParty   ContactUs    Rewards   Games   FAQ        Upcoming   Events




                                                  Book Half Tilt Party




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                                              "THE ARCADE IS OPEN TO THE PUBLIC DURING
                                               YOUR PARTY, THE PARTY AREA IS RESERVED
                                                      PRIVATELY FOR YOUR GROUP

                                         1 HOUR 45 MINUTES LONG
                                              1-24 GUESTS
                                    BRING YOUR OWN FOOD/DRINK
                                            SEATING FOR 24
                                  $150.00 OF GAME PLAY INCLUDED
                            “THIS PACKAGE     IS LIMITED TO PIZZA/BIRTHDAY           CAKE -PLEASE NO FULL CATERING




                                                   Book Full Tilt Party




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                                            1-24 GUESTS
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                                    BRING YOUR OWN FOOD/DRINK
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                                          SEATING FOR 24
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                            “THIS PACKAGE     IS LIMITED TO PIZZA/BIRTHDAY      CAKE -PLEASE NO FULL CATERING




                                                  Book Full Tilt Party




                                                            FULL
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                                                      “THE ARCADE IS CLOSED TO THE PUBLIC
                                                     DURING YOUR PARTY, THE ENTIRE ARCADE
                                                           IS RESERVED FOR YOUR GROUP

                                             1 HOUR 45 MINUTES LONG
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                                       BRING YOUR OWN FOOD/DRINK
                                               SEATING FOR 24
                                     $300.00 OF GAME PLAY INCLUDED
                                       “THIS PACKAGE IS NOT AVAILABLE DURING NORMAL BUSINESS HOURS



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                                                                                                          Contact Us
                                        Name                                                                                 Email




                                         What's on your mind? (We have a LOT of answers on our FAQ page, but if you cant find what you are looking for there, you're
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                                                                             Home       GiftCards   BookaParty            ContactUs                           Rewards    Games   FAQ        Upcoming Events                                   f




                        Our current Pinball and Arcade Games on site
                        We update this list as often as we can, if you are sincerely driving in from out of town to play something
                            specific, do yourself a favor and call us or email us to make sure it's still with us/working correctly as
                                                                                                                          things do happen!!




                                                               ©                                                                                        Y                                                                     sg
                                                   Pinball                                                                              Arcade                                                                              Other
                                                           e           Apollo 13                                                                    e     Galaga                                          e           Skeeball (we have three!)
                                       e                   Black Water 100                                            e        Big Buckhunter Reloaded                                                        e        Major League Baseball
                                                                   e     Fire!                                                      e           Wrestlemania                                                  e        Pop-A-Shot Basketball
                                   e               Guns N                  Roses (LE)                                                           e         NBA Jam                                                 e    Jet Fighter Kiddie Ride

                        e    John Carpenter's Halloween                                                                                     e            Centipede                                                e    Pirate Ship Kiddie Ride
                              Collector's Edition (2021)                                                                                    e            LE Mans 24                                   e           UP child size arcade       game

                                                           e           Jack Bot                                                 e           Star Wars Trilogy                                                           e   Claw Machines
                              e            Jurassic Park (1993)                                                                 e           Mortal Kombat 4                                       e           Win-o-prize directly from the
                        e    Jurassic Park Premium (2019)                                                   e        Street Fighter Tournament Edition                                          machine games (that's what we're
                               e               Medieval Madness                                                                                 e         Pac Man                                                           calling them!)
                                       e                   NBA Fast Break                                        ®        Pac Man                        cocktail cabinet (60

                    e       NBA Fast Break (we have two!)                                                                                               games)

                                           e                   Pinball Magic                                               e        Terminator Salvation
                                               e               The Shadow                                                           e               Police Trainer
                                               e               Shag Attack                                                              e               Time Crisis 4
                                                       e           Simpsons
                                           e                   The Sopranos
                                                       e           Star Wars
                                               e               Terminator 2
                                               e               Terminator 3
                                                   e            Waterworld
                                                               e        X-Files




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                        Our current Pinball and Arcade Games                                                                                                                                                              on site
                     We update this list as often as we can, if you are sincerely driving in from out of town to play something
                            specific, do yourself a favor and call us or email us to make sure it's still with us/working correctly as
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                                                   Pinball                                                                               Arcade                                                                           Other
                                                           e           Apollo 13                                                                     e     Galaga                                      e           Skeeball (we have three!)
                                       e                   Black Water 100                                             e        Big Buckhunter Reloaded                                                    e        Major League Baseball
                                                                   e     Fire!                                                       e           Wrestlemania                                              e        Pop-A-Shot Basketball
                                   e               Guns N                  Roses (LE)                                                            e         NBAJam                                              e    Jet Fighter Kiddie Ride
                        e    John Carpenter's Halloween                                                                                      e            Centipede                                            e    Pirate Ship Kiddie Ride
                              Collector's Edition (2021)                                                                                     e            LE Mans 24                               e           UP child size arcade       game

                                                           e           Jack-Bot                                                  e           Star Wars Trilogy                                                       e    Claw Machines
                              e            Jurassic Park (1993)                                                                  e           Mortal Kombat 4                                   e           Win-c-prize directly from the
                        e    Jurassic Park Premium                                      (2019)                e       Street Fighter Tournament                          Edition             machine                     games   (that's what we're

                               e               Medieval                     Madness                                                              e         Pac Man                                                       calling them!)

                                       e                   NBA Fast Break                                         e        Pac Man cocktail cabinet (60
                    e       NBA Fast Break (we have two!)                                                                                                games)

                                           e                   Pinball Magic                                                e        Terminator Salvation
                                               e               The Shadow                                                            e               Police Trainer
                                               e               Shag Attack                                                               e               Time Crisis 4
                                                       e           Simpsons
                                           e                   The Sopranos
                                                       e           Star Wars
                                               e               Terminator 2
                                               e               Terminator 3
                                                   e            Waterworld
                                                               e        X-Files




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                                            Home    GiftCards      BookaParty       ContactUs        Rewards     Games    FAQ        Upcoming   Events                 f




                                                                                   How Can We Help?
                                                                        A few bullet point items right out of the gate:
                            e     No unaccompanied      minors. Everyone under 16 years of age must be accompanied by someone over the age of 16.
                                                                    e    No outside food or drink, including chewing gum
                                                                                    e   Nosmoking or vaping
                        e       No scooters, bikes, skateboards,   rollerskates, rollerblades, etc inside the building (Full Tilt is not responsible for loss, theft, or

                                                                damage to personal property left outside of the building)
                                                                                        e     No Backpacks
                        e       Full Tilt Arcade & Pinball has a zero-tolerance "No jerks’ policy. If you are being rough on the arcade games, being rude to
                                   other patrons or the staff, or otherwise being a jerk, you will be asked to leave. Remember, you are on camera :)




                                                                              What are your hours?
                                                                               Monday - Private bookings only
                                                                              Tuesday- Private bookings only
                                                                             Wednesday - Private bookings only
                                                                                        Thursday 3-9
                                                                                             Friday 3-9
                                                                                        saturday 12-9
                                                                                            sunday 12-8
                                            There are also private bookings available Thursday-Sunday before we open to the public
                                                                              *All times Central Standard      Time*




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                                                                                How much              does it cost?
                                                e   ona card system! Cards        start at $10 which gives you 40 credits. Most games are 4 credits to

                                                               play. A few of our premium pinball          machines are 6 credits to play.




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                                                                      CanIcancel my party rental?
                     Once   a partyis booked,    it's unavailable   for anyone   else   to book,      9 all   party booking          sales are    final. We   would   be happy   to talk   to

                                      about     rescheduling   your party   as   long   as   you   reach      out to us 48   hours      before     your party. Thank    you




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               USDC IN/ND case 3:23-cv-00699-CCB-SJF                                                 document 1-5                     filed 07/25/23      page 23 of
                                                                                             27




                                                                                                                1g said, please refer to our no drop of
                       are 100% looking forward to being a great place for people of all ages,             but we dont have the capacity to look after unattended




                                                                                   fulltiltlo@gmailcom




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                                                                                                                                   Q.    Search...
               USDC IN/ND case 3:23-cv-00699-CCB-SJF                                                document 1-5                    filed 07/25/23                  page 24 of
                                                                                               27

                                                Home     GiftCards       BookaParty   Contact Us    Rewards      Games       FAQ        Upcoming   Events                     f




                    All Posts                                                                                                                               Log in/ Sign up




                       A= add ek
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                                           ad
                                                                                       |
                                                                                                    0mm
                       7/10: MONDAY FLIPPER FRENZY                                                  Here's what's going on at Full
                       rtm te            De   da
                       7/\4 - 7/16: CHRISTMAS IN JULY
                                                                                                    Tilt in July 2023!
                       7/17. MONDAY FLIPPER FRENZY
                       7/18: IF Pd PINBALL TOURNGMENT
                       7/20 - 7/23:            Ht) (3
                       7/24: MONDAY FLIPPER FRENZY
                       fA)        Te) eS                                                            35 views   Ocomments                                             10
                       7/27 - 7/29--SHERK WEEK


                                                                                                    ig
                       6/2 -6/4: BEdT tHe HEAT WEEKEND
                       6/5: SUMMER HOURS BEGIN                                                      What's going on in June 2023
                       6/8 -G/11: SPIRIT WEEK                                                       at the arcade? SO MUCH!
                       6/14: FREE PINBALL CLaSSES
                       6/18: FATHER’S DaY
                       Ae) |               dd
                                           | Ba |
                       6/28: PINBALL-TOURNGITENT
                       Us ay AB     Ce aad                                                          45views    Ocomments                                             20




                                                                                                    @ or one
                                                                                                    Avenger's Weekend April
                                         THANOS                IS COMING...                         13th through the 16th!




                                                                                                    34views    Ocomments                                               1)
                                                        Save the dates




                                           AS
                                2)                                                                         benkonowitz tad
                                                                                                           Dec 30, 2022   - Omin
                       Spend your New Year's with us!

                       You could                                                                    Win a Claw Machine on New


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                                      ;         As
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                                2)
                                               XS
                                                                                                                             27
                                                                                                                                           benkonowitz tad
                                                                                                                                           Dec 30, 2022    - Omin
                       Spend your New Year's with us!


                       er                                                       a                                                 Win a Claw Machine on New
                       win a full
                       size claw
                                                                                                                                  Year's Eve @ Midnight!
                       machine at
                       midnight!


                                                                                                                                  139 views     Ocomments                             9




                                                                                      HOLIDAY                                     9==="--
                                                                                                                                  Wi nt er Break means MORE
                                                                                            POURS:
                                                                                        WED-12/21: 10-6PM                         HOURS at the arcade!
                                                                                       THURS-12/22: 3-9PM
                                                                                      FRIDAY-12/23: 3-9PM
                                                                                        SAT-12/24 - CLOSED
                                                                                        SUN-12/25 - CLOSED
                                                                                        MON-12/26 - CLOSED
                                                                                        TUES-12/21 - 10-6PM
                                                                                        WEO-12/28 - 10-6PM
                                                                                       THURS-12/29 - 3-9PM
                                                                                             ERJ-12/30          3-9PM             40 views     Ocomments                              1)

                                                                                      SAT-12/31 12-MIONIGHT!

                                                                                                                              ci           benkonowitz wad
                                                                                                                                           Dec 2,2022     - Imin



                                                                                                                                  Willy Wonka Weekend!
                                                                   —————_____— &
                                                                     GOLDEN                                                       We're having our own version of the contest from
                                                                   sa Cc KET                                                      Willy Wonka and the Chocolate Factory! We've

                                                          ing                                                                     crafted 100 different mystery boxes at the...



                                       TO CELEBRATE THE NEW WILLY WONKA PINBALL
                                         MACHINE ON SITE, WE HAVE HIDDEN FOUR (4)
                                       GOLDEN TICKETS INSIDE ONE OF ONE HUNDRED
                                    (100) OF SPECIAL BOXES AT THE ARCADE. TRADE 1,000                                                  .
                                         TICKETS FOR A SPECIAL ENVELOPE. THE FOUR                                                 259 views     =Ocomments                           2°
                                          WINNERS WILL WIN A SPECIAL WILLY WONKA
                                          h          AR       ‘6           in   aioe   el?            5   JES




                                               Ss         E         E      Cc      l A            L                                        benkonowitz wad
                                                     I    5         °     l     IR            é                                            Nov 21,2022    - 3min



                                                                                                                                  Thanksgiving Week Special
                                               WEDNESDAY 11/23 2-8PM
                                                                                                                                  Hours and Events!
                                              THANKSGIVING DAY 5-9PM                                                              Wednesday night! Special Hours 2-8pm! Sign up in
                                                 BLACK FRIDAY 3-8PM                                                               person fora free to enter pinball tourney! We're not
                                                  SATURDAY 12-9PM                                                                 professionals at pinball and we...
                                                   SUNDAY 12-8PM

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                                                                                                  TT                              316 views     Ocomments                              9g
                                     Planes,                            Free Hot                      Daily Skee-




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                         THANKSGIVING DAY 5-9PM                                                             Wednesday night! Special Hours 2-8pm! Sign up in
                            BLACK FRIDAY 3-8PM                                                              person for a free to enter pinball tourney! We're not
                             SATURDAY 12-9PM                                                                professionals at  pinball filed
                                                                                                                                       and we...
               USDC IN/ND case  3:23-cv-00699-CCB-SJF                                                       document       1-5               07/25/23 page 26 of
                              SUNDAY 12-8PM
                                                                                                       27
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                                Planes,                             Free Hot             Daily Skee-
                                                                -




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                                                                                                                   Nov 16,2022    - Omin

                         EMPLOYEE
                         —           OF THE            —
                                                                                                            Congratulations Oscar, on
                                                                                                            Employee of the Month!
                         MONTH

                               Oscar
                             Biernackli
                                                                                                            36 views    Ocomments                                    gd




                                                                                                        cy         benkonowitz wad
                                                                                                                   Oct 24,2022    - Imin



                                                                                                            Open Halloween Night!
                                                                                                            In order to accommodate everyone that might
                                                                                                            want to try their hand at Halloween pinball ON
                                                                                                            Halloween, we kindly ask you to play one game...

                         o          FREE    CANDY   TO ANYONE        IN COSTUME

                         Cea           a ee
                                       ee   ek                         a ee

                         e   CLAW    GAME     ONE   NIGHT   ONLY     SPOOKY    PRIZES!

                                                                                                            42views     Ocomments                                     9g




                                                                                                                   benkonowitz tad
                                                                                                                   Oct 9,2022    - Imin



                                                                                                            OPENING WEEKEND!
                                                                                                            This Thursday, 10/13-Sunday, 10/16! Doors open for
                                                                                                            the first time 3 pm Thursday. 701 N. Fail Rd. LaPorte,
                                                                                                            IN! Please remember, as we are...




                                                                                                            93 views    1comment                                      9g




                                                                                                                   benkonowitz tad
                                                                                                                   Aug 24, 2022 - Imin


                                                                                                            We're almost there!
                                                                                                            65 arcade games including over 20 pinball
                                                                                                            machines! That is the goal to open with...it's a long
                                                                                                            process to search out the best games, fix...




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               USDC IN/ND case 3:23-cv-00699-CCB-SJF document 1-5                                                        filed 07/25/23      page 27 of
                       Oscar                        27
                     Biernackli
                                                                                          36 views   Ocomments                                      9g




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                                                                                                 Oct 24,2022    - Imin



                                                                                          Open Halloween Night!
                                                                                          In order to accommodate everyone that might
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                                                                                          Halloween, we kindly ask you to play one game...

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                                                                                          OPENING WEEKEND!
                                                                                          This Thursday, 10/13-Sunday, 10/16! Doors open for
                                                                                          the first time 3 pm Thursday. 701 N. Fail Rd. LaPorte,
                                                                                          IN! Please remember, as we are...




                                                                                          93 views   1comment                                      1)




                                                                                                 benkonowitz taf
                                                                                         cay     Aug 24, 2022   - Imin



                                                                                          We're almost there!
                                                                                          65 arcade games including over 20 pinball
                                                                                          machines! That is the goal to open with...it's a long
                                                                                          process to search out the best games, fix...




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                                                                           fulltiltlp@gmail.com


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